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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   MATTHEW C. BOCKMON, Bar # 161566
     Assistant Federal Defender
 3   801 I Street, 3rd. Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     STACEY MISTLER
 6
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR. S-13-165 TLN
                                           )
12                     Plaintiff,          )              STIPULATION AND ORDER VACATING
                                           )              STATUS CONFERENCE SETTING STATUS
13         v.                              )              CONFERENCE AND EXCLUDING TIME
                                           )
14   STACEY MISTLER, et al.,               )              Date : August 1, 2013
                                           )              Time: 9:30 a.m.
15                     Defendants.         )              Judge: Troy L. Nunley
                                           )
16   _____________________________________ )
17          The United States of America, by and through Olusere Olowoyeye, Assistant United States
18   Attorney, together with the defendant, Stacey Mistler, through Matthew C. Bockmon, Assistant Federal
19   Defender, agree to vacate the status conference date of July 11, 2013 and setting the status conference for
20   August 1, 2013 at 9:30 a.m. for the following reason:
21          Counsel for the defendant needs additional time to review over 300 pages of discovery provided by
22   the Government.
23          The parties agree that the Court should exclude time from computation under the Speedy Trial Act,
24   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv) and Local Code T4, due to the need to provide defense counsel
25   with the reasonable time to prepare, and that the ends of justice to be served by granting the continuance
26   outweigh the best interests of the public and the defendant in a speedy trial. The exclusion of time is from
27   July 9, 2013 until August 1, 2013.
28
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 1   Dated: July 9, 2013
 2                                                         Respectfully submitted,
 3                                                         HEATHER E. WILLIAMS
                                                           Federal Defender
 4
                                                            /s/ Matthew C. Bockmon
 5                                                         MATTHEW C. BOCKMON
                                                           Assistant Federal Defender
 6                                                         Attorney for Defendant
                                                           STACEY MISTLER
 7
 8   Dated: July 9, 2013                                   BENJAMIN B. WAGNER
                                                           United States Attorney
 9
                                                            /s/ Matthew C. Bockmon for
10                                                         OLUSERE OLOWOYEYE
                                                           Assistant U.S. Attorney
11                                                         Attorney for Plaintiff
12                                                 ORDER
13          Based on the reasons set forth in the stipulation of the parties filed on July 10, 2013, and good cause
14   appearing therefrom, the Court adopts the stipulation of the parties in its entirety. IT IS HEREBY ORDERED
15   that the status conference currently set for Thursday, July 11, 2013, be vacated and that a status conference be
16   set for Thursday, August 1, 2013, at 9:30 a.m. The Court finds that the ends of justice to be served by
17   granting a continuance outweigh the best interests of the public and the defendant in a speedy trial.
18   Accordingly, IT IS HEREBY ORDERED that, for the reasons stated in the parties’ July 10, 2013 stipulation,
19   the time within which the trial of this matter must be commenced under the Speedy Trial Act is excluded
20   during the time period of July 9, 2013, through and including August 1, 2013, pursuant to 18 U.S.C.
21   §3161(h)(7)(A) and (B)(iv) and Local Code T4.
22
     Dated: July 10, 2013
23
24
25
                                                                             Troy L. Nunley
26                                                                           United States District Judge

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28                                                          2                              US v. Mistler, et al., 13-165 TLN
